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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. FY

RONALD E. ZYLSTRA, D.V.M.,                           Hon. 3DXO/0DORQH\
                                                     U.S. District Judge
            Defendant.
________________________________________/

                               CONSENT DECREE

      Plaintiff, the United States of America (the “United States”), filed a Complaint

seeking an injunction and civil penalties (the “Complaint”), alleging that Defendant

Ronald E. Zylstra, D.V.M. (“Defendant”) has violated the Controlled Substances Act,

21 U.S.C. §§ 801 et seq. (the “CSA”), that the United States is entitled to injunctive

relief against Defendant, and that the Defendant is liable to the United States for

civil monetary penalties for his CSA violations. The Parties stipulate to the entry of

this Consent Decree to resolve the disputed matters that the United States asserts in

the Complaint, with the following terms and provisions.

                                    The Parties

      A.     Plaintiff is the United States of America.

      B.     Defendant is a resident of Kent County, Michigan. Defendant maintains

a Drug Enforcement Administration (“DEA”) controlled substance registration, No.

BZ8669460, which authorizes him to dispense, prescribe, and administer controlled
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substances. Defendant also maintains separate licensure with the State of Michigan

to practice as a veterinarian and handle controlled substances.

                                       Recitals

      C.     In Count I of the Complaint, the United States alleges that Defendant

violated the CSA. First, the United States alleges that, from July 13, 2021 through

December 20, 2023, Defendant failed to maintain accurate dispensing records in

violation of 21 U.S.C. §§ 827(a)(3), 842(a)(5), and 21 C.F.R. § 1304.22(c), and that

Defendant is liable to the United States for each violation under 21 U.S.C.

§ 842(c)(1)(B)(i) and 28 C.F.R. § 85.5. Second, the United States alleges that from July

13, 2021 to November 2, 2023, Defendant failed to conduct a biennial inventory in

violation of 21 U.S.C. § 827(a)(1) and 21 C.F.R. § 1304.11, and that Defendant is liable

to the United States for each violation under 21 U.S.C. § 842(c)(1)(B) and 28 C.F.R.

§ 85.5. Third, the United States alleges that from January 12, 2021 to August 4, 2023,

Defendant failed to record the receipt of Schedule II controlled substances in violation

of 21 U.S.C. § 828 and 21 C.F.R. § 1305.13, and that Defendant is liable to the United

States for each violation under 21 U.S.C. § 842(c)(1)(B) and 28 C.F.R. § 85.5. In Count

II of the Complaint, the United States alleges that, as a result of the violations

described in this paragraph, the United States is entitled to injunctive relief under

21 U.S.C. §§ 843(f), and 882(a). The conduct described in this paragraph is referred

to as the “Covered Conduct.”

      D.     This stipulated Consent Decree is neither an admission of liability by

Defendant nor a concession by the United States that its claims are not well founded.



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      E.     To avoid the delay, uncertainty, inconvenience, and expense of

protracted litigation of the above claims, the Parties reach a full and final settlement

as set forth below:

                              Terms and Conditions

      NOW, THEREFORE, before the taking of any testimony, without the

admission of any issue of fact or law, in consideration of the mutual promises,

covenants, and obligations set forth below, and for good and valuable consideration

as stated here, the Parties agree as follows, and IT IS HEREBY ORDERED,

ADJUDGED, AND DECREED as follows:

                              Jurisdiction and Venue

      1.     The Court has jurisdiction pursuant to 21 U.S.C. §§ 842(c)(1), 843(f)(2),

and 882(a), and 28 U.S.C. §§ 1331, 1345, and 1355(a).

      2.     Venue is appropriate in this District pursuant to 21 U.S.C. § 843(f)(2)

and 28 U.S.C. §§ 1391(b)(1), 1391(b)(2), and 1395(a).

      3.     The Complaint states a claim upon which relief can be granted.

      4.     The Parties recognize, and the Court by entry of this Consent Decree

finds, that this Consent Decree has been negotiated by the Parties and that this

Consent Decree is fair, reasonable, and in the public interest.

                                  Civil Monetary Penalty

      5.     Defendant shall pay to the United States a principal amount of

THIRTY-FIVE THOUSAND DOLLARS ($35,000.00) (the “Settlement Amount”).

Within thirty (30) business days of entry of this Consent Decree, Defendant shall pay



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the United States an initial sum of TEN THOUSAND DOLLARS ($10,000.00).

Defendant shall pay the remaining Settlement Amount of TWENTY-FIVE

THOUSAND DOLLARS, plus 8% interest, in increments of SIX-HUNDRED TEN

DOLLARS AND THIRTY-TWO CENTS ($610.32) due on the first day of each month,

beginning on December 1, 2024, for a period of forty-eight months. All payments to

the United States under this paragraph shall be made by electronic funds transfer

pursuant to written instructions to be provided by the United States Attorney’s Office

for the Western District of Michigan.

                                            Injunctive Provisions

         6.       Dispensing. For a period of five years after entry of this Consent Decree,

Defendant shall not directly or indirectly dispense, assist in the dispensing, or

otherwise facilitate the dispensing of any controlled substance as defined in the CSA

or its implementing regulations found at 21 C.F.R. parts 1300-1399 (the

“Implementing Regulations”).

         7.       Prescribing. For a period of five years after entry of this Consent Decree,

Defendant shall not prescribe any controlled substance as defined in the CSA and its

Implementing Regulations to any of the following individuals or their pets:

Defendant, T.W.1, any current employee of Kentwood Veterinary Clinic or any other

clinic owned or operated by Defendant, any of Defendant’s children or step-children,

any of Defendant’s parents or step-parents, or any of Defendant’s siblings or step-

siblings.


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  The identity of this individual is known to the Parties, but in this public court filing we have used only her initials
to protect her privacy.

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      8.     Administering. For a period of five years after entry of this Consent

Decree, Defendant shall not directly or indirectly administer, assist in the

administering, or otherwise facilitate the administering of any controlled substance

as defined in the CSA and its Implementing Regulations, except he may administer,

directly or indirectly, the following controlled substances for legitimate medical

purposes    during    veterinary     procedures:    morphine,     tiletamine-zolazepam,

butorphanol tartrate, midazolam, ketamine, pentobarbital sodium (euthanasia

solution), and extended release buprenorphine hydrochloride. Defendant shall only

administer these controlled substances in injectable form.

      9.     Ordering. For a period of five years after entry of this Consent Decree,

Defendant shall not directly or indirectly order, or direct or facilitate the ordering of,

any controlled substances as defined in the CSA and its Implementing Regulations,

except he may order, directly or indirectly, the following controlled substances for

administration during legitimate veterinary procedures: morphine, tiletamine-

zolazepam, butorphanol tartrate, midazolam, ketamine, pentobarbital sodium

(euthanasia solution), and extended release buprenorphine hydrochloride. Defendant

shall only order these controlled substances in injectable form.

      10.    Records and Reports. Defendant shall make, keep, and furnish any

record, report, notification, declaration, order or order form, statement, invoice, or

information required under the CSA and its Implementing Regulations.

      11.    Monitoring. For a period of five years after entry of this Consent Decree,

DEA may, at its election, request and review copies of any prescriptions written by



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Defendant and all medical records related to or supporting those prescriptions. Such

request must be in writing, and Defendant must provide the requested records within

thirty (30) days of receiving the request.

       12.    Noncompliance by Defendant. If, at any time within five years of entry

of this Consent Decree, DEA determines that Defendant has failed to comply with

any provision of this Consent Decree, DEA may, as and when it deems necessary,

notify Defendant in writing of the noncompliance and order Defendant to take

corrective action, including, but not limited to, ordering Defendant to permanently

cease ordering, distributing, dispensing, prescribing, and/or administering controlled

substances in any capacity. This remedy shall be separate and apart from, and in

addition to, any other remedy available to the United States under this Consent

Decree or under the law, including additional civil monetary penalties. The following

process and procedures apply when DEA issues an order under this paragraph:

              a.     Defendant will implement the corrective action ordered by the

DEA without delay.

              b.     If Defendant notifies and provides reasons to DEA that he does

not agree with any DEA order under this paragraph, DEA will review his notification

and reasons and within thirty (30) days thereafter, affirm, modify, or withdraw its

order in writing, as DEA deems appropriate. If DEA affirms or modifies its order, it

will explain the basis for its decision in writing. This notification shall constitute final

agency action.




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             c.    If DEA affirms or modifies its order, Defendant may, within thirty

(30) days, seek judicial review of the DEA’s order in this Court. Defendant shall

continue to diligently implement DEA’s order while judicial review is pending unless

and until the Court or any higher court reverses, stays, or modifies DEA’s order.

             d.    All decisions conferred upon DEA in this paragraph shall be

vested in DEA’s discretion and, to the extent that these decisions are subject to

review, shall be reviewed by the Court under the arbitrary and capricious standard

set forth in 5 U.S.C. § 706(2)(A). Review by the Court of any DEA decision rendered

pursuant to this paragraph shall be based exclusively on the written record before

DEA at the time the decision was made. No discovery shall be taken by any party.

      13.    Meaning of Terms. The meanings of the terms dispensing, dispense,

administering, and administer as used in Paragraphs 6 through 12 shall have the

meanings defined in 21 U.S.C. § 802.

      14.    Contempt. Should the United States bring and prevail in a contempt

action to enforce the terms of this Consent Decree, Defendant shall, in addition to

other remedies, reimburse the United States for its attorneys’ fees (including

overhead), travel expenses incurred by attorneys and witnesses, investigational and

analytical expenses, expert witness fees, administrative and court costs, and any

other costs or fees incurred by the United States in bringing such an action.

      15.    Defendant’s obligations under this Consent Decree shall be in addition

to, and not in derogation of, all requirements imposed on him under all applicable




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federal, state, and local laws, including the requirements of the CSA and its

Implementing Regulations.

                                        Other Terms

         16.   Subject to the exceptions in Paragraph 17 (concerning reserved claims),

and subject to Paragraph 18 (concerning disclosure of assets) and Defendant’s

compliance with the terms in Paragraphs 5–11, and upon the United States’ receipt

of the Settlement Amount plus interest due under Paragraph 5, the United States

releases Defendant from any civil monetary claims and civil injunctive claims the

United States has for the Covered Conduct under the Controlled Substances Act, 21

U.S.C. §§ 801-904.

         17.   Notwithstanding the releases given in Paragraph 16 of this Consent

Decree, or any other term of this Consent Decree, the following claims and rights of

the United States are specifically reserved and are not released:

               a.    Any liability arising under Title 26, U.S. Code (Internal Revenue

Code);

               b.    Any criminal liability;

               c.    Except as explicitly stated in this Agreement, any administrative

liability or enforcement right, including the suspension and debarment rights of any

federal agency;

               d.    Any liability to the United States (or its agencies) for any conduct

other than the Covered Conduct;




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             e.    Any liability based upon obligations created by this Agreement;

and

             f.    Any liability of individuals other than Defendant.

      18.    Defendant has provided sworn financial disclosures and supporting

documents (together “Financial Disclosures”) to the United States, and the United

States has relied on the accuracy and completeness of those Financial Disclosures in

stipulating to this Consent Decree. Defendant warrants that the Financial

Disclosures are complete, accurate, and current as of the date the Parties sign the

stipulated Consent Decree. If the United States learns of asset(s) in which Defendant

had an interest of any kind as of the date the Parties sign the stipulated Consent

Decree (including, but not limited to, promises by insurers or other third parties to

satisfy Defendant’s obligations under this Consent Decree) that were not disclosed in

the Financial Disclosures, or if the United States learns of any false statement or

misrepresentation by Defendant relating to the Financial Disclosures, and if such

nondisclosure, false statement, or misrepresentation changes the estimated net

worth set forth in the Financial Disclosures by $20,000.00 or more, the United States

may at its option collect the full Settlement Amount in accordance with the

Agreement plus one hundred percent (100%) of the net value of Defendant’s

previously undisclosed assets.

      19.    Default. Defendant agrees to the following:

             a.    In the event that Defendant fails to pay the Settlement Amount

pursuant to the payment schedule set forth in Paragraph 5 above, Defendant shall



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be in default of Defendant’s payment obligations (“Default”). The United States will

provide a written Notice of Default, and Defendant shall have an opportunity to cure

such Default within thirty (30) days from the date of receipt of the Notice of Default

by making the payment due under the payment schedule. Notice of Default will be

delivered to Ronald Zylstra at 601 44th Street SE, Kentwood, Michigan 49548, with

copy to Arthur Jalkanen, Esq., at Schwartz & Jalkanen, P.C., 24445 Northwestern

Highway, Suite 209, Southfield, MI, 48075, or to such other representative as

Defendant shall designate in advance in writing. If Defendant fails to cure the

Default within thirty (30) days of receiving the Notice of Default and in the absence

of an agreement with the United States to a modified payment schedule (“Uncured

Default”), the remaining unpaid balance of the Settlement Amount shall become

immediately due and payable.

             b.     In the event of Uncured Default, and on petition by the United

States, Defendant agrees that the Court may amend this Consent Decree to enter an

amended judgment against Defendant for the entire Settlement Amount, less any

payments previously made to the United States under this Consent Decree, plus a

$2,000.00 penalty. Defendant agrees to pay the United States all reasonable costs of

collection and enforcement of this Consent Decree, including attorneys’ fees and

expenses. In the event that the United States files a petition pursuant to this

paragraph, Defendant waives and agrees not to plead, argue, or otherwise raise any

defenses of statute of limitations, laches, estoppel or similar theories, to any civil or

administrative claims that are (a) filed by the United States against Defendant



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within 120 days of Uncured Default, and (b) relate to the Covered Conduct, except to

the extent these defenses were available on the entry of this Consent Decree.

      20.    Defendant waives and shall not assert any defenses Defendant may

have to any criminal prosecution or administrative action relating to the Covered

Conduct that may be based in whole or in part on a contention that, under the Double

Jeopardy Clause in the Fifth Amendment of the Constitution, or under the Excessive

Fines Clause in the Eighth Amendment of the Constitution, this Consent Decree bars

a remedy sought in such criminal prosecution or administrative action.

      21.    Defendant fully and finally releases the United States, its agencies,

officers, agents, employees, and servants, from any claims (including attorneys’ fees,

costs, and expenses of every kind and however denominated) that Defendant has

asserted, could have asserted, or may assert in the future against the United States,

its agencies, officers, agents, employees, and servants, related to the Covered Conduct

or the United States’ investigation or prosecution thereof.

      22.    This Consent Decree is intended to be for the benefit of the Parties only.

The Parties do not release any claims against any other person or entity.

      23.    Each Party shall bear its own legal and other costs incurred in

connection with this matter, including the preparation and performance of this

Consent Decree.

      24.    Each Party and signatory to this Consent Decree represents that it

freely and voluntarily enters into this Consent Decree without any degree of duress

or compulsion.



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      25.    This Consent Decree is governed by the laws of the United States. The

exclusive venue for any dispute relating to this Consent Decree is the United States

District Court for the Western District of Michigan.

      26.    This Consent Decree constitutes the complete agreement between the

Parties. This Consent Decree may not be amended except by written consent of the

Parties and order by the Court. Forbearance by the United States from pursuing any

remedy or relief available to it under this Consent Decree shall not constitute a

waiver of rights under this Consent Decree.

      27.    The undersigned counsel represent and warrant that they are fully

authorized to execute this Consent Decree on behalf of the persons and entities

indicated below.

      28.    This Consent Decree is binding on Defendant’s successors, transferees,

heirs, and assigns.

      29.    All Parties consent to the United States’ disclosure of this Consent

Decree, and information about this Consent Decree, to the public.

      30.    The Court shall retain jurisdiction over this matter for purposes of

enforcing the Consent Decree.

      31.    The Parties may execute this Consent Decree in counterparts.



IT IS SO ORDERED.


DATED: September 23, 2024                /s/ Paul L. Maloney
                                       _________________________________
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                                       U.S. District Judge

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